861 F.2d 729
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Loring M. CANEY, Jr., Petitioner,v.DEPARTMENT OF the TREASURY, Respondent.
    No. 88-3211.
    United States Court of Appeals, Federal Circuit.
    Sept. 30, 1988.
    
      Before FRIEDMAN, BISSELL and MAYER, Circuit Judges.
      PER CURIAM.
    
    
      1
      An administrative judge of the Merit Systems Protection Board denied enforcement of an initial decision in docket No. BN075287C9111 accepting a settlement agreement, on the ground that the agency had not violated the settlement agreement.  We affirm that decision on the basis of the opinion of the administrative judge.
    
    